840 F.2d 10Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John J. BAECHER, Jr., Plaintiff-Appellant,v.Michael C. BAECHER, Defendant-Appellee.
    No. 87-2095.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 30, 1987.Decided:  Feb. 11, 1988.
    
      John J. Baecher, Jr., appellant pro se.
      Peter Clark Manson, Jr., Richard Jay Beaver, Pender &amp; Coward, for appellee.
      Before DONALD RUSSELL, ERVIN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from that court's order granting the defendant's motion to dismiss is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Baecher v. Baecher, C/A No. 87-0165 (E.D.Va. May 22, 1987).
    
    
      2
      AFFIRMED.
    
    